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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


   JILL HINES, ET AL.,
                                                         Case No. 3:23-cv-571
                         Plaintiffs,
                                                         Chief Judge Terry A. Doughty
         v.
                                                         Magistrate Judge Kayla D. McClusky
   ALEX STAMOS, ET AL.,

                         Defendants.


         NOTICE OF AUTOMATIC STAY OF PROCEEDINGS PENDING APPEAL
          PURSUANT TO THE FEDERAL ARBITRATION ACT, 9 U.S.C. § 16(a)

         Defendants Alex Stamos, Renée DiResta, the Board of Trustees of the Leland Stanford

  Junior University, the Leland Stanford Junior University, Kate Starbird, Graphika, Camille

  François, the Atlantic Council, and Graham Brookie (together, “Defendants”) hereby give notice

  that this case is automatically stayed pending Defendants’ appeal from the Court’s Memorandum

  Order filed November 15, 2023 (ECF No. 88), which denied Defendants’ Motion to Compel Indi-

  vidual Arbitration, Dismiss Plaintiff’s Class Claims, and Stay all Proceedings, or Alternatively to

  Transfer Venue Under 28 U.S.C. § 1404 (ECF No. 69).

         Under the Supreme Court’s recent decision in Coinbase, Inc. v. Bielski, 599 U.S. 736

  (2023), upon the filing of Defendants’ Notice of Appeal (ECF No. 89) pursuant to the Federal

  Arbitration Act (FAA), 9 U.S.C. § 16(a), this case was automatically stayed—and the Court was

  divested of jurisdiction—pending the outcome of appellate proceedings. “When a federal district

  court denies a motion to compel arbitration, the losing party has a statutory right to an interlocutory

  appeal” under Section 16(a). Coinbase, 599 U.S. at 738. In Coinbase, the Supreme Court reversed

  Fifth Circuit precedent that gave district courts discretion to decide whether to stay cases pending
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  an appeal under Section 16(a). See id. at 741 n.3 (abrogating Weingarten Realty Investors v. Mil-

  ler, 661 F.3d 904 (5th Cir. 2011)). Now, when a party appeals a district court order under Section

  16(a), all district court proceedings are “automatically stay[ed]” and the district court is divested

  of jurisdiction. Id. at 743-44; see id. at 740-41, 747. Defendants here moved to compel arbitration

  and stay proceedings under 9 U.S.C. §§ 3-4, see ECF No. 69, ECF No. 69-1 at 13, and have ap-

  pealed this Court’s denial of that motion under Section 16(a). The Court therefore “must stay its

  pre-trial and trial proceedings while the interlocutory appeal on arbitrability is ongoing.” Id. at 740

  (emphasis added). That stay is “automatic” and not “discretionary.” Id. at 746.

          Pursuant to the automatic stay, this Court accordingly lacks jurisdiction to conduct any

  further proceedings in this case. “Because the question on appeal” from a denial of a motion to

  compel arbitration “is whether the case belongs in arbitration or instead in the district court, the

  entire case is essentially ‘involved in the appeal.’” Id. at 741 (quoting Griggs v. Provident Con-

  sumer Discount Co, 459 U.S. 56, 58 (1982)) (emphasis added). The filing of a notice of appeal

  from a denial of motion compel arbitration pursuant to Section 16(a) therefore “divests the district

  court of its control over . . . the entire case.” Id. at 740-41. As the Supreme Court explained,

  “[a]bsent an automatic stay of district court proceedings, Congress’s decision in § 16(a) to afford

  a right to an interlocutory appeal would be largely nullified.” Id. at 743. “[M]any of the asserted

  benefits of arbitration (efficiency, less expense, less intrusive discovery, and the like) would be

  irretrievably lost—even if the court of appeals later concluded that the case actually had belonged

  in arbitration all along.” Id.

          As the Supreme Court has also held, the fact that Defendants are not signatories to the

  underlying arbitration agreement does not diminish their right to take a Section 16(a) interlocutory

  appeal triggering the automatic stay. Section 16(a) permits “appeal[s]” from “an order” “denying”

  a motion to compel arbitration under 9 U.S.C. § 4 or staying proceedings pending arbitration under

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  9 U.S.C. § 3. Sections 3 and 4, in turn, permit “[a] party” or “one of the parties” to move for an

  order compelling arbitration and staying proceedings pending arbitration. As the Supreme Court

  has explained, “parties” in this context “unambiguously refers to adversaries in the action,” “rather

  than parties to the contract.” Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630 n.4 (2009).

  Accordingly, a party to the lawsuit who seeks to compel arbitration or to stay proceedings pending

  arbitration pursuant to an “equitable estoppel” theory—as Defendants did here—is equally entitled

  to invoke the FAA and to appeal as of right. Arthur Andersen, 556 U.S. at 628-29, 631-32. That

  appeal in turn triggers the automatic stay. Coinbase, 599 U.S. at 746.

         For the foregoing reasons, and by operation of law, notice is given that this case is auto-

  matically stayed in its entirety under Coinbase. Defendants respectfully request that the Court

  direct the parties to meet and confer upon the conclusion of appellate proceedings to jointly pro-

  pose a new briefing schedule for Defendants’ response to the First Amended Complaint (ECF No.

  77). The Court also need not decide at this time Defendants’ pending motion to stay proceedings

  pending the Supreme Court’s decision in Murthy v. Missouri (No. 23-411), since proceedings are

  now already stayed in light of Defendants’ appeal.

         Defendants note, moreover, that the parties previously agreed that Defendants’ Joint Mo-

  tion to Dismiss is moot and that the Court should set a schedule for Defendants to file a new motion

  to dismiss aimed at the First Amended Complaint. See Mem. in Support of Defs.’ Mot. to Stay

  Proceedings or, Alternatively, to Extend the Time to Respond to the First Am. Compl. at 1, 10

  (ECF No. 86-1); Pls.’ Resp. to Defs.’ Mot. to Dismiss at 2 (ECF No. 85). There is no basis to set

  a schedule now, as the Court should not and cannot dispose of that Motion to Dismiss now in light

  of the automatic stay and divestment of jurisdiction. But in the event the case proceeds in this

  Court following appeal, the parties agree that Defendants’ Joint Motion to Dismiss should be de-

  nied without prejudice as moot and that Defendants should file a new Motion to Dismiss.

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   November 16, 2023                               Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 16th day of November, 2023, I electronically filed the

  foregoing with the Clerk of Court by using the CM/ECF system, which will provide notice of

  electronic filing to the attorneys for all parties.


                                                            /s/ James A. Brown
                                                            James A. Brown




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